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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


DONTE BUCKMIRE ,

                   Plaintiff,                         Civil Action No. 1:24-cv-12110-AK

       v.

WAYFAIR, INC., COLBY GRENIER and
THERESE BARTOLINI,

                   Defendants.


        JOINT STATEMENT REGARDING PROPOSED SCHEDULING ORDER

       Plaintiff Donte Buckmire and Defendants Wayfair, Inc. (“Wayfair”), Colby Grenier, and

Therese Bartolini (collectively, “Defendants”) (all collectively, the “Parties”), by their undersigned

counsel and pursuant this Court’s order on March 13, 2025, submit the following Joint Statement

Regarding Proposed Revised Scheduling Order.

Proposed Timetable for Discovery and Motion Practice

       The Parties jointly request that the Court approve the proposed Scheduling Order attached

as Exhibit 1.

Pending Motions

       The Parties state that there are no motions currently pending before the Court. The parties

note, however, that there are still outstanding discovery issues, including as noted in the attached

Exhibit 1 and regarding medical records or the potential entry of a stipulations with respect there

to.
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Respectfully Submitted,


 /s/ Helen G. Litsas              .     /s/ Lynn A. Kappelman
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                                        COUNSEL FOR DEFENDANTS




                                        Dated: June 27, 2025
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on June 27, 2025, a true copy of the foregoing document was
electronically filed through the Court’s ECF system and will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing and paper copies will be
sent to those indicated as non-registered participants.

                                                      /s/ Lynn A. Kappelman
                                                      Lynn A. Kappelman




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